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                                                                        May 26, 2022

BY ECF

The Honorable Raymond J. Dearie
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201


                RE:     United States v. Martinelli Linares, 21 Cr. 65 (RJD)

Dear Judge Dearie:

       We write respectfully to request the inclusion of certain language in the forthcoming
judgments to be issued for Ricardo Alberto Martinelli Linares (“Ricardo”) and Luis Enrique
Martinelli Linares (“Luis”) in the above-captioned case.

       Specifically, we ask that the Court consider language to the effect that Ricardo and Luis
should be awarded credit against their 36-month sentences for the time they served in both
Guatemala and at the MDC in Brooklyn. With reference to the enclosed amended judgment
issued by Judge Chen in United States v. Takkas, No. 15-CR-252, ECF No. 854 (E.D.N.Y. Dec.
12, 2017), we respectfully suggest the following language:

       “The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be
       imprisoned for a total term of thirty-six (36) months, and shall be given credit for time
       served since July 6, 2020, in official detention in Guatemala and at the Metropolitan
       Detention Center in Brooklyn, pursuant to 18 U.S.C. § 3585(b)(1).”

       Given the extraordinarily poor conditions of confinement at the MDC—where detainees
continue to be locked down 22 hours per day—and the relatively modest amount of time that
Ricardo and Luis have left to serve, we respectfully request that the Court recommend an
expedited designation for both Ricardo and Luis, at the Bureau of Prison’s earliest ability, to the
Low Security Correctional Institution (LSCI) at Allenwood, Pennsylvania.
                                                                                       2

Thank you for your consideration of these requests.

                                                 Respectfully submitted,


                                                 Sean Hecker
                                                 Justin Horton
                                                 KAPLAN HECKER & FINK LLP
                                                 350 Fifth Avenue, 63rd Floor
                                                 New York, New York 10118

                                                 Counsel for Ricardo Martinelli Linares


                                                 James G. McGovern
                                                 Samuel Rackear
                                                 HOGAN LOVELLS US LLP
                                                 390 Madison Avenue
                                                 New York, NY 10017

                                                 Counsel for Luis Martinelli Linares
AO 245C (Rev. 09117) Amended Judgment in a Criminal Case                                                                         (NOTE: Identify Changes with Asterisks (*))
                     Sheet I


                                                UNITED STATES DISTRICT COURT
                                                                    Eastern District of New York
                    UN ITED STATES OF AMERI CA                                          )   AMENDED JUDGMENT IN A CRIMINAL CASE
                                          v.                                            )
                                                                                        )   Case Number: 1: 15-CR-00252-PKC
                              COSTAS T AKKAS                                            )
                                                                                            USM Number: 89220-053
                                                                                        )
Date of Original Judgment: _10_1_3 _11_2_0 _17_ _ _ _ __                                    Gordon Mehler, retained
                                                                                        )
                                               (Or Dale of Last Amended J11dg111e111)       Defcndam·s Attorney
                                                                                        )
Reason for Amendment:
                                                                                        )
0      Correction of Sentence on Remand ( 18 U.S.C. 3742(1)( I) and (2))                    0   Modification of Supervision Conditions ( 18 U.S.C. §§ 3563(c) or 3583(c))
O      Reduction of Sentence for Changed Circumstances (Fed. R. Crim.
                                                                                        )   O   Modification of Imposed Tenn of Imprisonment for Extraord inary and
       P. 35(b))                                                                        )       Compelling Reasons ( 18 U.S.C. § 3582(c)( I))
                                                                                        )
O      Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))                  O   Modification of Imposed Term of Imprisonment for Retroactive Amendmcnt(s)
                                                                                        )       to the Sentencing Guidelines ( 18 U.S.C. § 3582(c)(2))
0      Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                        )
X Clarification of sentence 10 indicate defendant shal l be provided
                                                                                        )   0   Direct Motion to District Court Pursuant   0   28 U.S.C. § 2255 or
  credit for time served in foreign prison ( 18 U.S.C. § 3585)                                  0   18 U.S.C. § 3559(c)(7)
                                                                                        )
                                                                                            0   Modification of Restitution Order ( 18 U.S.C. § 3664)

THE DEFENDANT:
It!'
  pleaded guilty to cou nt(s)               73 of the Superseding Indictment                                         FILED
                                                                                                                  IN ClERK'SOFFICi2


                                                                                                           * DEC 12 2017
O pleaded nolo contendere to count(s)
       which was accepted by the court.
O was found guilty on count(s)
   after a plea of not guilty.
                                                                                                                                           *
The defendant is adjudicated guilty of these offenses:                                                     BROOKLYN OFFICE
Title & Section                         Nature of Offense                                                                     Offense Ended                   Count
 18 U.S .C. § 1956(h)                    Money Laundering Conspiracy                                                           11 /25/2015                     73s




       The defendant is sentenced as provided in pages 2 1hrough -----'-7___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
O The defendant has been found not guilty on count(s)
[!j" Count(s) all open counts                    O is [!'[are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United Stares Attorney for this district with in 30 days of any change of name. residence,
or mail ing address until all fines, restitution, cos rs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must noti fy the court and United States attorney of material changes in economtc circumstances.
                                                                                   10/31/2017
                                                                                  Dare of Imposition of Judgment

                                                                                                    s/PKC
                                                                                            Signature            ' -=-
                                                                                             Pamela K. Chen, U.S.D .J .
                                                                                            Name and Title of Judge
                                                                                             12/12/2017
                                                                                            Date
AO 24SC (Rev. 09/17) Amended Judgment in a Criminal Case
                     Sheet 2 - Imprisonment                                                                  (NOTE: Identify Changes with Asterisks(*))
                                                                                                        Judgment - Page       2      of          7
DEFENDANT: COSTAS TAKKAS
CASE NUMBER: 1:15-CR-00252-PKC

                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of fifteen
(15) months, but that he be given ten (10) months credit (as per 18 U.S.C. § 3585) for time he already served in a foreign
prison pending extradition in this matter.


l!f     The court makes the following recommendations to the Bureau of Prisons:
that the defendant be designated to Metropolitan Correctional Center, New York




D       The defendant is remanded to the custody of the United States Marshal.

i!1     The defendant shall surrender to the United States Marshal for this district:
              at     03:30                         D       a.m.     00   p.m.       on     10/31/2017

        D     as notified by the United States Marshal.

D       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        D     before 2 p.m. on
        D     as notified by the United States Marshal.
        D     as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                             to

at                                                         with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL



                                                                                                 DEPUTY UNITED STATES MARSHAL
 AO 245C (Rev. 09/17) Amended Judgment in a Criminal Case
                      Sheet 3 - Supervised Release                                                       (NOTE: Identify Changes with Asterisks(*})
                                                                                                                    3_ of
                                                                                                     Judgment-Page __                       7
 DEFENDANT: COSTAS TAKKAS
 CASE NUMBER: 1:15-CR-00252-PKC
                                                        SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
one (1) year.




                                                    MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days ofrelease from
   imprisonment and at least two periodic drug tests thereafter, as determined by the court.
        D The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
              substance abuse. (check ifapplicable)
4. D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
        restitution. (check if applicable)
5. D You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6. D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
        directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
        reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7. D You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
AO 245C (Rev. 09/17) Amended Judgment in a Criminal Case
                     Sheet 3A - Supervised Release
                                                                                                        Judgment-Page    4 - of
                                                                                                                        --                 7
DEFENDANT: COSTAS TAKKAS
CASE NUMBER: 1:15-CR-00252-PKC

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the-probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
      to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities}, you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization}, the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date
AO 245C (Rev. 09/ l 7) Amended Judgment in a Criminal Case
                       Sheet 30- Supervised Release                                           (NOTE: Identify Changes with Asterisks(*))
                                                                                           Judgment-Page __5_ of                 7
DEFENDANT: COSTAS TAKKAS
CASE NUMBER: 1:15-CR-00252-PKC

                                          SPECIAL CONDITIONS OF SUPERVISION
  1. The defendant may not serve any official role and/or hold any title within FIFA, CONCACAF, and/or CFU.

  2. The defendant must cooperate with and abide by all instructions of immigration authorities.

  3. If deported, the defendant may not re-enter the United States illegally.
AO 245C {Rev. 09/17) Amended Judgment in a Criminal Case
                     Sheet 5 - Criminal Monetary Penalties                                                  (NOTE: Identify Changes with Asterisks(*))
                                                                                                    Judgment - Page       6       of          7
DEFENDANT: COSTAS TAKKAS
CASE NUMBER: 1: 15-CR-00252-PKC
                                              CRIMINAL MONETARY PENALTIES
       The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                     JVTA Assessment*                                        Restitution
TOTALS             $ 100.00                     $                                                        $ 3,000,000.00


D The determination of restitution is deferred until - - - -. An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

!t1'   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximate})_' proportioned payment, unless specified otherwise in
       the prioricy order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664{i), all nonfederal victims must be paid
       before the United States is paid.

Name of Payee                                Total Loss**                     Restitution Ordered                     Priority or Percentage
  Caribbean Football Union                                   $3,000,000.00                     $3,000,000.00

  Attn: President Randolph Harris

  Suite # 208 Harper's Bldg

 Villagewalk Commerical Center

       Friars Hill Rd

  St. John's, Antigua

  Phone # 268-736-6065




TOTALS                                               3,000,000.00         $              3,000,000.00


D      Restitution amount ordered pursuant to plea agreement $

D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All ofthe payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

i!1    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
            the interest requirement is waived for       D fine         restitution.
       D the interest requirement for the        D    fine    D restitution is modified as follows:


*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
**Findings for the total amount oflosses are required under Chapters 109A, 110, 1IOA, and l 13A of Title 18 foroffenses committed on or
after September 13, 1994, but before April 23, 1996.
AO 245C (Rev. 09/17) Amended Judgment in a Criminal Case
                     Sheet 6 - Schedule of Payments                                                           (NOTE: Identify Changes with Asterisks(•))
                                                                                                          Judgment-Page         7     of         7
DEFENDANT: COSTAS TAKKAS
CASE NUMBER: 1:15-CR-00252-PKC

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:
A      00     Lump sum payment of$ _1O_O_._O_O_ _ _ _ due immediately, balance due

              D not later than     - - - - - - - - - - ' or
                  in accordance with D C,        D D,      D     E, or    l!1'   F below; or

B      D Payment to begin immediately (may be combined with              D C,         D D, or D F below); or
C      D Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                         over a period of
             _ _ _ _ (e.g., months or years), to commence                   (e.g., 30 or 60 days) after the date of this judgment; or

D      D Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                    over a period of
             _ _ _ _ (e.g., months or years), to commence                   (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or
E      D Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F      i!1    Special instructions regarding the payment of criminal monetary penalties:
               Payments for restitution shall be made at $500 monthly payments while on supervised release.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




!!1'   Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.
        Restitution is joint and            with any co-conspirator(s) in 1:15-cr-00252-PKC who are ordered to pay restitution.



D The defendant shall pay the cost of prosecution.
D      The defendant shall pay the following court cost(s):

D      The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the followirig_order: (1) assessment, (2) restitution principall (3) restitution interest1 (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, me udmg cost of prosecution and court costs.
